         Case 1:13-cv-00569-CRC Document 64 Filed 10/30/15 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

KIMBERLY KATORA BROWN, et al., )
                                    )
            Plaintiffs,             )
v.                                  )
                                    )
GOVERNMENT OF THE                   )               Civil Action No. 13-00569 (CRC)
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
___________________________________ )

           DEFENDANT’S CONSENT MOTION FOR EXTENSION OF TIME
               TO FILE MOTION TO DISMISS COUNT THREE OF
                PLAINTIFFS’ SECOND AMENDED COMPLAINT

       Defendant the District of Columbia (the District) respectfully submits this Consent

Motion for Extension of Time to File Motion to Dismiss Count Three of Plaintiffs’ Second

Amended Complaint as to property seized solely for evidence (Consent Motion). On October 7,

2015, the Court entered a Scheduling Order requiring the District to file its motion to dismiss by

November 6, 2015. The District seeks a two-week extension of the deadline due to the

competing professional obligations of undersigned counsel, making the motion to dismiss due on

or by November 20, 2015. See Fed. R. Civ. P. 6(b)(1).

       The District attaches a memorandum of points and authorities in support of this Consent

Motion, and a proposed order for the Court’s consideration.

       Pursuant to Local Civil Rule 7(m), undersigned counsel discussed this matter in good

faith with opposing counsel, and Plaintiffs consent to the requested relief. The District

respectfully requests that the Court grant the Consent Motion and enter the proposed order.



Dated: October 30, 2015              Respectfully submitted,

                                     KARL A. RACINE
                                     Attorney General for the District of Columbia
    Case 1:13-cv-00569-CRC Document 64 Filed 10/30/15 Page 2 of 4




                         ELIZABETH SARAH GERE
                         Acting Deputy Attorney General
                         Public Interest Division

                         /s/ Toni Michelle Jackson
                         TONI MICHELLE JACKSON (D.C. Bar No. 453765)
                         Chief, Equity Section

                         /s/ Fernando Amarillas
                         FERNANDO AMARILLAS (D.C. Bar No. 974858)
                         Assistant Attorney General
                         441 Fourth Street, NW
                         Sixth Floor South
                         Washington, D.C. 20001
                         Telephone: (202) 442-9887
                         Facsimile: (202) 730-0646
                         Email: fernando.amarillas@dc.gov

                         /s/ Bradford C. Patrick
                         BRADFORD C. PATRICK (D.C. Bar No. 1004979)
                         Assistant Attorney General
                         441 Fourth Street, NW, Sixth Floor South
                         Washington, DC 20001
                         Telephone: (202) 724-6627
                         Facsimile: (202) 741-0599
                         Email: bradford.patrick@dc.gov

                         Counsel for Defendant the District of Columbia




                                  2
 
         Case 1:13-cv-00569-CRC Document 64 Filed 10/30/15 Page 3 of 4



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

KIMBERLY KATORA BROWN, et al., )
                                  )
            Plaintiffs,           )
v.                                )
                                  )
GOVERNMENT OF THE                 )                 Civil Action No. 13-00569 (CRC)
DISTRICT OF COLUMBIA,             )
                                  )
            Defendant.            )
_________________________________ )

         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
          DEFENDANT’S CONSENT MOTION FOR EXTENSION OF TIME
              TO FILE MOTION TO DISMISS COUNT THREE OF
               PLAINTIFFS’ SECOND AMENDED COMPLAINT

       Defendant the District of Columbia (the District) respectfully submits the following

memorandum of points and authorities in support of the Consent Motion for Extension of Time

to File Motion to Dismiss Count Three of Plaintiffs’ Second Amended Complaint as to property

seized solely for evidence (Consent Motion):

   1. Rule 6(b)(1) of the Federal Rules of Civil Procedure;

   2. Plaintiffs’ consent to the requested extension of time;

   3. The District’s showing of good cause in support of the Consent Motion; and

   4. The inherent power of the Court.

       The District seeks a two-week extension for good cause, and the requested extension will

not prejudice Plaintiffs or delay the resolution of this matter. Accordingly, the District

respectfully requests that the Court grant the Consent Motion and enter the proposed order.

Dated: October 30, 2015              Respectfully submitted,

                                     KARL A. RACINE
                                     Attorney General for the District of Columbia
    Case 1:13-cv-00569-CRC Document 64 Filed 10/30/15 Page 4 of 4



                         ELIZABETH SARAH GERE
                         Acting Deputy Attorney General
                         Public Interest Division

                         /s/ Toni Michelle Jackson
                         TONI MICHELLE JACKSON (D.C. Bar No. 453765)
                         Chief, Equity Section

                         /s/ Fernando Amarillas
                         FERNANDO AMARILLAS (D.C. Bar No. 974858)
                         Assistant Attorney General
                         441 Fourth Street, NW
                         Sixth Floor South
                         Washington, D.C. 20001
                         Telephone: (202) 442-9887
                         Facsimile: (202) 730-0646
                         Email: fernando.amarillas@dc.gov

                         /s/ Bradford C. Patrick
                         BRADFORD C. PATRICK (D.C. Bar No. 1004979)
                         Assistant Attorney General
                         441 Fourth Street, NW, Sixth Floor South
                         Washington, DC 20001
                         Telephone: (202) 724-6627
                         Facsimile: (202) 741-0599
                         Email: bradford.patrick@dc.gov

                         Counsel for Defendant the District of Columbia




 

 

 

 

 

 

 
 

                                  2
 
